                              United States Court of Appeals
                                     For The Eighth Circuit
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    TO:        Mr. Michael Kiel Kaiser
    CC:        Ms. Liza J. Brown
               Ms. Kristin Huntington Bryant
               Mr. Lee Curry
               Ms. Stephanie Mazzanti
               Mr. Marcus O. Millsap

FROM:          Britny N. Williams

DATE:          October 25, 2023

   RE:         23-2396 United States v. Marcus Millsap

        Your brief in the above-case has been received. In reviewing the brief for filing, we noted
the deficiencies shown below. Your brief cannot be filed until the defects are corrected. Please
correct these defects within five days and resubmit the brief electronically for final review and
processing. See 8th Cir. R. 28A(b). If the resubmitted brief passes review, you will receive a
Notice of Docket Activity informing you that the brief has been filed. Upon receipt of this notice,
you have five days to submit the paper copies of the brief and addendum required by 8th Cir. R.
28A(d) and (g)(4). Please contact us if you have any questions.


  X       BRIEF FORMAT IS INCORRECT. See FRAP 32(a). Please correct the certificate of
compliance to show which font type and size used to create the brief. If the font type will remain
Times New Roman, please change the font size to 14-point font and file a motion to file an
overlength brief in excess of 2,563 words. If you choose to rely on line count, please change the
font type and the font size to 10.5-character monospace typeface. If you wish to rely on word
count with a monospace font, please correct the certificate of compliance and change the font
type. The font size of 12 can remain. The maximum number of words allowed is 13,000 and the
maximum number of lines are 1,300.


   X     Pursuant to the Plan to Expedite Criminal Appeals, all references to the district court
record must be in the format provided in Eighth Circuit Rule 28A(j). Transcript references
should be to Volume and page number (TR., Vol. 1, p. 123). Please change R. Doc. 1009 to
Motion TR. followed by the page number.


       Again, your brief cannot be filed until you correct these defects. Failure to correct them
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